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                    UNITED STATES COURT OF APPEALS
                                                                       FILED
                           FOR THE NINTH CIRCUIT
                                                                       JAN 16 2024
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 CHAYA LOFFMAN; et al.,                         No. 23-55714

               Plaintiffs - Appellants,
                                                D.C. No. 2:23-cv-01832-JLS-MRW
   v.                                           U.S. District Court for Central
                                                California, Los Angeles
 CALIFORNIA DEPARTMENT OF
 EDUCATION; et al.,                             ORDER

               Defendants - Appellees.


        The amicus brief submitted by National Alliance for Public Charter Schools

and California Charter Schools Association on January 16, 2024 is filed.

        Within 7 days of this order, amici curiae are ordered to file 6 copies of the

brief in paper format with green covers, accompanied by certification (attached to

the end of each copy of the brief) that the brief is identical to the version submitted

electronically. The Form 18 certificate is available on the Court's website, at

http://www.ca9.uscourts.gov/forms.

        The paper copies shall be submitted to the principal office of the Clerk. The

address for regular U.S. mail is P.O. Box 193939, San Francisco, CA 94119-3939.

The address for overnight mail is 95 Seventh Street, San Francisco, CA 94103-

1526.
Case: 23-55714, 01/16/2024, ID: 12848170, DktEntry: 64, Page 2 of 2

                                     FOR THE COURT:

                                     MOLLY C. DWYER
                                     CLERK OF COURT
